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    7   Attorneys for Plaintiff

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    9
                            IN THE UNITED STATES DISTRICT COURT
   10                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
   11

   12   ROTHSCHILD PATENT
        IMAGING, LLC,
   13

   14                   Plaintiff,               Case No. 5:22-cv-08296-BLF
   15
                v.                               JOINT STIPULATION OF
   16                                            DISMISSAL WITH PREJUDICE
        SNAPFISH, LLC,
   17

   18                   Defendant.
   19

   20
                Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Rothschild Patent Imaging,
   21
        LLC and Defendant Snapfish, LLC hereby stipulate to the dismissal of all claims
   22
        asserted in this action WITH PREJUDICE, with each party to bear its own attorneys’
   23
        fees, costs and expenses.
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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    1   Dated: May 30, 2023
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    3   Respectfully submitted,
    4

    5
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         ATTORNEYS FOR PLAINTIFF                    ATTORNEYS FOR DEFENDANT
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
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    1
                                         CERTIFICATE OF SERVICE

    2
                I hereby certify that on May 30, 2023, I electronically transmitted the foregoing
    3
        document using the CM/ECF system for filing, which will transmit the document
    4
        electronically to all registered participants as identified on the Notice of Electronic
    5
        Filing, and paper copies have been served on those indicated as non-registered
    6
        participants.
    7

    8
                                                /s/ Randall T. Garteiser
    9                                           Randall T. Garteiser
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JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
